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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA

STATE OF ALASKA,

             Plaintiff,
                                                Case No. 3:23-cv-00007-SLG
      v.

BRYAN NEWLAND, in his official capacity         UNITED STATES’ REPLY IN
as Assistant Secretary, Indian Affairs, U.S.    SUPPORT OF CROSS-MOTION
Department of the Interior;                     FOR SUMMARY JUDGMENT
and U.S. DEPARTMENT OF THE
INTERIOR

             Defendants,

      and

CENTRAL COUNCIL OF THE TLINGIT &
HAIDA INDIAN TRIBES OF ALASKA,

             Intervenor-Defendant.




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                                     INTRODUCTION

       In 1936, Congress enacted the Alaska Indian Reorganization Act (“AIRA”). AIRA

Section 1, 25 U.S.C. § 5119, explicitly authorizes the Secretary of the Interior to acquire

land in trust in Alaska. Yet in an effort to obtain an outcome that is contrary to reason and

unsupported by plain statutory text, precedent, and congressional intent, the State of

Alaska (“State”) continues to insist that the major questions doctrine governs this case. It

does not. This Court should disregard the State’s attempt to reframe this case and

conclude that Congress authorized the Secretary to acquire land in trust in under AIRA

Section 1 and to exercise that authority to acquire the Parcel at issue in trust for the

Central Council of the Tlingit & Haida Indian Tribes of Alaska (“Tribe”).

       In response to the United States’ and Tribe’s motions for summary judgment, the

State effectively concedes that no subsequent legislation repealed AIRA Section 1. That

should be the end of the matter. Should the Court consider whether Congress

subsequently repealed Section 1 despite the State’s concession, it should conclude that

Congress did no such thing—and that the Secretary retains her authority today. See

Akiachak Native Cmty. v. Salazar, 935 F. Supp. 2d 195, 203, 208 (D.D.C. 2013).

I.     This Is Not a Major Questions Case.

       This case does not implicate a major question. See ECF-19 at 36–39.1 Even if it

did, Congress provided the Secretary with “clear congressional authorization” to acquire




1
  Citations to parties’ briefs refer to pagination of the document as filed, not the Court-
stamped pagination.
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land in trust in Alaska and for the Tribe. See ECF-19 at 39-40; infra Section II.2 While the

contours of the major questions doctrine are still being drawn by the lower courts, this

case falls outside them. This Court should conclude, consistent with its recent precedent,

that the doctrine does not govern this case. See Alaska Indus. Dev. v. Biden, No. 3:21-cv-

00245-SLG, 2023 WL 5021555, at *11 (D. Alaska Aug. 7, 2023), and Dep’t of Fish and

Game v. Fed. Subsistence Bd., No. 3:20-cv-00195-SLG, 2023 WL 7282538, at *7–8

(D. Alaska Nov. 3, 2023) (“FSB”).

               A. State-Specific Cases Do Not Implicate the Major Questions
                  Doctrine.

       As this Court recently observed, “[i]n all of [the Supreme Court’s major questions

doctrine cases], the broad scope of the challenged regulations impacted millions of

people nationwide.” FSB, 2023 WL 7282538, at *8 (emphasis added). Regardless of the

outcome of the Court’s decision here, its consequences will be felt only within the State

of Alaska. While there are myriad grounds on which the Court should reject the State’s

characterization of this case as implicating the major questions doctrine, see ECF-19 at

35–39, its limited geographic effect is reason enough.

       The State has identified no authority to support its position that the major

questions doctrine should govern a case in which the effects are confined to a single state.




2
  If this Court agrees that the Secretary has clear congressional authorization, it need not
determine whether this case raises a “major question,” as the existence of plain statutory
language demonstrating clear congressional authorization renders the major questions
doctrine inapplicable in the first place. See, e.g., Howard v. Republican Nat’l Comm., No.
CV-23-00993-PHX-SPL, 2023 WL 7301861, at *3 (D. Ariz. Nov. 6, 2023).
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Indeed, as the State acknowledges, this Court recently rejected the State’s request to

apply the doctrine in a case challenging the Federal Subsistence Board’s (“FSB”)

decision to open an emergency hunt for rural subsistence users in Alaska. See FSB, 2023

WL 7282538, at *7–8. As this Court explained, the FSB “has no authority in any other

state besides Alaska,” nor does it have any authority outside Title VIII of the Alaska

National Interest Lands Conservation Act (“ANILCA”), “an Alaska-specific statute.” Id.

at *8. The State’s effort to distinguish this case from FSB are unavailing. The only

statutes at issue here are, like ANILCA, Alaska-specific statutes.3

       Lacking precedential support, the State instead asks the Court to consider a

hypothetical in which an ANCSA-like statute applied to the entire nation, not just Alaska,

to argue that what is at issue here is an exception to a general rule. ECF-25 at 26–27.

Even assuming the scenario the State envisions would raise a major question, it could not

be further from reality. Far from “creating exceptions to the general rule,” ECF-25 at 27,

the Secretary’s acquisition of trust land in Alaska is consistent with the settled

understanding of the United States that tribes in Alaska are Indian tribes like any other.

The Court should reject the State’s effort to turn the major questions doctrine on its head

by extending its reach beyond a narrow, extraordinary set of cases with nationwide

implications.




3
 Although the Secretary has authority to acquire land in trust outside Alaska, this case
only implicates the exercise of that authority within Alaska.
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               B. This Case Does Not Present a Major Question.

       Even were the Court to consider applying the major questions doctrine despite the

narrow geographic scope of this case, it should decline to do so. The Secretary has not

“‘claim[ed] to discover in a long-extant statute an unheralded power’ representing a

‘transformative expansion in [its] regulatory authority,’” West Virginia v. EPA, 142 S. Ct.

2587, 2610 (2022), of the sort that implicates the major questions doctrine. See ECF-19 at

35-39. Rather, the State “asserts merely that the Secretary’s decision to take land into

trust” is contrary to law—“a garden-variety APA claim.” Match-E-Be-Nash-She-Wish

Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 220 (2012).

       The heart of the State’s argument for applying the doctrine is that the acquisition

of the Parcel in trust “create[s] territorial jurisdiction where none exists,” ECF-25 at 8,

and that such creation “is of vast economic and political significance to the State,” id. at

26. That argument is based on speculation as to the future of trust acquisitions and

potential jurisdictional consequences in Alaska, and on the State’s misunderstanding of

the status of existing tribal jurisdiction in Alaska.

                          1. The State’s Major Questions Argument Relies on
                             Unwarranted Assumptions about the Future of Trust
                             Acquisitions in Alaska and Jurisdictional Consequences.

       The State has not articulated why the Court should deem the assertion of tribal

jurisdiction over Indian trust lands an issue of “vast economic and political

significance,’” ECF-25 at 26, even within the State. As a preliminary matter, any

estimates of the number of tribes that may in the future apply to have land acquired in


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trust, or the number of acres that will be accepted in trust, are entirely speculative. But

even assuming all 227 tribes in Alaska were to ask the Secretary to acquire land in trust

on their behalf—an unlikely scenario—the State has failed to demonstrate that such a

scenario would warrant application of the doctrine.

       The State did not even mention specific anticipated effects of the acquisition of

land in trust in its motion for summary judgment, see ECF-19 at 37–38, and in its

response, it relegates those concerns to a footnote. ECF-25 at 27 n.76. The State makes

no mention of criminal jurisdiction, which would remain unchanged because Alaska is a

Public Law 280 state. See ECF-19 at 37. As to civil regulatory jurisdiction, the only

specific consequence of trust acquisitions the State identifies is the possibility that tribes

with trust land may, under some circumstances and with EPA approval, be treated as

states under certain environmental statutes. ECF-25 at 27 n.76. While treatment as a state

(“TAS”) status is one of the benefits to tribes of having land held in trust, it is far from

clear that tribal TAS status has “vast economic and political” implications for the State.

See West Virginia, 142 S. Ct. at 2605. And as already noted, the State has identified no

adverse consequences of the Secretary’s 2017 acquisition of land in trust for the Craig

Tribal Association. ECF-19 at 37 n.18.

       Nor did the State challenge the Secretary’s findings related to jurisdictional effects

set forth in the Decision. As required under the Part 151 regulations, the Secretary

notified the State and affected local governments of the Tribe’s application and provided

them an opportunity to comment on “the acquisition’s potential impact[s] on regulatory


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jurisdiction, real property taxes and special assessments,” 25 C.F.R. § 151.11(c), and

considered “[j]urisdictional problems and potential conflicts of land use which may arise”

as a result of the acquisition, id. § 151.10(f).4 The State did not challenge the Secretary’s

consideration of either regulatory provision.

                         2. The State’s Major Questions Argument Relies on Its
                            Misunderstanding of the Current Status of Tribal
                            Jurisdiction in Alaska.

       The State’s argument for applying the major questions doctrine hinges on this

Court agreeing that this acquisition “creates territorial jurisdiction where none exists”

because, prior to issuance of the Decision, “the only tribe with territorial jurisdiction was

Metlakatla Indian Community.” ECF-25 at 8, 28. The State is incorrect. Tribes in Alaska

already possess territorial jurisdiction. 25 U.S.C. § 1305(a) (recognizing and affirming

inherent tribal jurisdiction over Indians within Alaskan Native Villages).5 In fact, the

State cites to VAWA 2022’s recognition of inherent tribal jurisdiction in Alaska, so it is




4
  Interior recently issued a final rule amending the Part 151 regulations. Land
Acquisitions, 88 Fed. Reg. 86222 (Dec. 12, 2023). The new regulations do not govern the
trust acquisition at issue in this case.
5
  See also Office of Tribal Justice, U.S. Dep’t of Justice, Concurrent Tribal Authority
Under Public Law 83-280 in Alaska 1–2 (Oct. 27, 2023),
https://www.justice.gov/d9/2023-11/inherent_tribal_authority_in_alaska_memo_10-24-
2023_final_word_version.pdf. The Violence Against Women Act Reauthorization of 2022
(“VAWA 2022”) also provided that tribes in Alaska have full civil jurisdiction over the
issuance and enforcement of protective orders, including against non-Indians, “arising
within the Village of the Indian tribe.” 25 U.S.C. § 1305(b). It also established a pilot
program allowing up to thirty tribes to exercise “Special Tribal Criminal Jurisdiction”
over people, including non-Indians, “present in the Village of the Indian tribe” Id.
§ 1305(c)–(d).
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fully aware that civil and criminal tribal territorial jurisdiction already exists. See ECF-25

at 21 (citing 136 Stat. 49, 904-10, codified at 25 U.S.C. §§ 1304, 1305).

       However, the State now makes the unfounded assertion that tribes in Alaska

(except Metlakatla) lack territorial jurisdiction over Indian country to support its

contention that this Decision constitutes a purportedly vast expansion of tribal

jurisdiction. In doing so, the State relies on two rulings that specific Alaska Native

allotments are not “Indian lands” under the Indian Gaming Regulatory Act (“IGRA”)

ECF-25 at 28–32 (citing Native Vill. of Eklutna v. U.S. Dep’t of the Interior, No. 19-cv-

2388 (DLK), 2021 WL 4306110, at *5 (D.D.C. Sept. 22, 2021) and In the Matter of:

Appeal of Chairman’s August 19, 2020 Disapproval of Amendment to Gaming Ordinance

of the Central Council of Tlingit and Haida Indian Tribes of Alaska, Final Decision and

Order, Nat’l Indian Gaming Comm’n (Feb. 25, 2021)).6 These rulings are irrelevant

because the jurisdictional status of Alaska Native allotments is not before this Court, and

the Court should not issue an advisory opinion on that issue for the sake of determining

whether this case presents a major question.7



6
 The United States explained in its opening brief, which the State incorrectly
characterizes, that Alaska Native allotments constitute “Indian country,” which the State
wrongly asserted “is almost nonexistent in Alaska.” ECF-16 at 11. To the extent the State
disagrees with the characterization of Alaska Native allotments as “Indian country,” see
ECF-25 at 9 n.5, that issue is not before this Court.
7
  The State improperly cites to Eklutna for its broader claim that Metlakatla was the only
tribe with territorial jurisdiction (again, presumably meaning territorial jurisdiction over
Indian country). ECF-25 at 28 & n.77. Eklutna addressed only Alaska Native allotments;
indeed, it does not mention Metlakatla or any other non-allotment Indian country in
Alaska.
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       All parties to this case acknowledge that there is Indian country in Alaska aside

from Alaska Native allotments and the Annette Islands Reserve. See ECF-25 at 23 n.66

(identifying “three parcels of land held in trust by the Federal government,” referring to

the lands held in trust for Kake, Angoon, and Klawock) and id. at 31 (identifying the

Craig Tribal Association parcel as being “placed into trust in 2017”); ECF-19 at 16. The

lands held in trust for those tribes were acquired pursuant to AIRA Section 1, the same

provision the Secretary relied on here.8 “[A]s a matter of law, the federal government

confers tribal jurisdiction over lands it acquires in trust for the benefit of tribes.” Club

One Casino, Inc. v. Bernhardt, 959 F.3d 1142, 1149 (9th Cir. 2020). Yet the State

questions, without argument or explanation, whether three tribes in Alaska with trust

lands “hold territorial jurisdiction” over those parcels. ECF-25 at 23 n.66. (The State does

not extend its skepticism to Craig Tribal Association’s jurisdiction over its trust land.)

       The State’s effort to confuse the issue of tribal territorial jurisdiction in support of

its major questions doctrine argument fails. Indian country and tribal territorial

jurisdiction already exist in Alaska. The State’s rhetoric does not alter that reality.




8
 The State’s rejoinder would presumably be that three of the four parcels of land
currently held in trust in Alaska were acquired prior to the enactment of ANCSA doctrine.
True, and that is why the only relevant question in this case—as it was in Akiachak—is
whether subsequent legislation repealed the authority granted to the Secretary under
AIRA Section 1. The State has conceded that argument.
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II.    AIRA Section 1 and the Alaska Definition Clearly Authorize the Secretary to
       Take Land in Trust for the Tribe.

       Even were this Court to find that this case raises a major question, the statutory

provisions at issue here constitute “clear congressional authorization” for the Secretary to

acquire land in trust for Indians in Alaska generally and for the Tribe. ECF-19 at 39–40;

see West Virginia, 142 S. Ct. at 2609. In AIRA Section 1, Congress specifically

authorized the Secretary to acquire trust land for Indians in Alaska. 25 U.S.C. § 5119

(providing that the Secretary’s trust acquisition authority “shall [hereafter] apply to the

Territory [State] of Alaska”) (emphasis added)). Congress could not have spoken more

clearly. And in IRA Section 19, Congress explicitly and specifically provided that “[f]or

the purposes of [the IRA], Eskimos and other aboriginal peoples of Alaska shall be

considered Indians.” 25 U.S.C. § 5129 (emphasis added).

       In its response, the State points to two cases it believes present similar

circumstances to the case at bar: FDA v. Brown & Williamson Tobacco Corp., 529 U.S.

120 (2000) (“Brown & Williamson”) and North Carolina Coastal Fisheries Reform Group

v. Captain Gaston LLC, 76 F.4th 291 (4th Cir. 2023) (“Gaston”). ECF-25 at 12–24.

Neither is relevant. Unlike AIRA Section 1 and IRA Section 19, the broadly worded

statutory provisions at issue in Brown & Williamson and Gaston left doubt as to whether

Congress clearly authorized the agency to regulate, respectively, tobacco products or

bycatch. In both cases, the agency (or, in the case of Gaston, an environmental




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organization) sought to regulate specific conduct under a general statutory provision.9

Because it was not apparent from the statutory text whether Congress had “directly spoken

to the issue,” Brown & Williamson, or provided “clear congressional authorization,”

Gaston, the courts looked to extratextual factors, including the existence of a “distinct

regulatory scheme,” i.e., subsequently enacted legislation. See 529 U.S. at 133, 144;

76 F.4th at 297–98. Indeed, such lack of specificity in statutory language is a hallmark of

major questions cases. See West Virginia, 142 S. Ct. at 2609 (“[I]n certain extraordinary

cases, both separation of powers principles and a practical understanding of legislative

intent make us ‘reluctant to read into ambiguous statutory text the delegation claimed to

be lurking there.’”); Brown & Williamson, 529 U.S. at 123 (“In extraordinary cases, . . .

there may be reason to hesitate before concluding that Congress has intended . . . an

implicit delegation” to an agency.) (emphasis added)); Gaston, 76 F.4th at 302 (“[A]n

expansive, vaguely worded definition is not akin to [the] clear congressional authorization”

the major questions doctrine requires) (emphasis added).

       But where, as here, an agency relies on plain language directly conferring the

precise authority at issue, that constitutes clear congressional authorization. See ECF-19

at 39–40. The State has not identified a single case in which a court applied the major


9
  Scholars have identified Gaston as a singular outlier in the lower courts’ application of
the major questions doctrine. It is one of only two cases in which a court has applied the
doctrine where no Executive branch agency was a party—and it is the only case in which
the doctrine was applied in a case involving no agency action whatsoever. (EPA was not
party to the case, nor has it claimed the authority or obligation to regulate bycatch under
the Clean Water Act.) Natasha Brunstein, Major Questions in Lower Courts, 75 Admin.
L. Rev. 661, 668 n.39 (2023).
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questions doctrine to find that an agency lacks authority that Congress specifically and

expressly granted it in the text of the relevant statute. Here, the Court need not interpret

“vague,” “oblique,” or “cryptic” statutory language, see West Virginia, 142 S. Ct. at

2608–10, to conclude that Congress clearly authorized the Secretary to acquire trust land

in Alaska. Unlike the Food, Drug, and Cosmetic Act’s (“FDCA”) “drugs” or “devices”

provision or the Clean Water Act’s (“CWA”) “pollutants” definition, Congress explicitly

authorized the specific authority at issue in this case.10 Under the guise of appeals to this

Court’s “common sense,” the State asks the Court to ignore the clear congressional

authorization set forth in the text of AIRA and the IRA.

       Given this clear congressional authorization, whether Congress enacted a “distinct

regulatory scheme” is irrelevant. Rather, subsequent legislation is relevant only to

whether Congress impliedly repealed AIRA Section 1—an argument the State disavows.

However, even were the Court to consider the State’s “distinct regulatory scheme” theory

of the case, it should find that no such scheme exists. In Brown & Williamson and

Gaston, Congress authorized other agencies under other statutes to regulate the conduct

at issue in the case. Not so here. Far from having spoken “subsequently and more




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   Had the text of the FDCA expressly defined “drugs” or “devices” to include “tobacco
products” or “cigarettes,” or the Clean Water Act defined “pollutants” to include “bycatch
from shrimp trawlers,” the reviewing courts would undoubtedly have found that the FDA
had authority to regulate cigarettes and EPA the authority to regulate bycatch. Any other
result would require a court to ignore the plain text of a duly enacted statute, obliterating
the distinction between the judicial and legislative branches of our government.
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specifically to the topic at hand,” Brown & Williamson, 529 U.S. at 121—that is, to the

Secretary’s trust acquisition authority—Congress has not spoken of it at all since 1936.

       Nor should this Court consider Interior’s prior interpretation of the effect of

ANCSA on the Secretary’s trust acquisition authority. As a preliminary matter, the State

misrepresents the history of Interior’s position on this issue. The Secretary did not

acquire the Parcel in trust after 50 years of disclaiming authority to acquire land in trust

in Alaska. See ECF-25 at 27. Interior began reexamining the Part 151 Alaska exception

and the rationale behind it nearly 30 years ago, see ECF-19 at 6, and determined that the

exception was unwarranted seven years ago, id. The State’s suggestion that this Decision

represents a sudden departure from Interior’s prior interpretation is disingenuous.

       Further, the courts in Brown & Williamson and Gaston considered the agencies’

prior understanding of the scope of their authority—or, in the case of Gaston, the

agency’s current understanding that it lacked the authority—to inform the analysis of

whether the broad statutory provision at issue in the case authorized the specific authority

sought. But as discussed above, there is no analogous broad statutory language at issue in

this case. Congress explicitly granted the Secretary the authority exercised here.

III.   Congress Has Not Repealed AIRA Section 1.

       As set forth above, Congress provided plainly that the Secretary’s trust acquisition

authority “shall [hereafter] apply to . . . Alaska.” 25 U.S.C. § 5119. Congress did not

subsequently repeal that authority. ECF-19 at 10–25. The State not only fails to address

Defendants’ argument that Congress never repealed AIRA Section 1, but it explicitly


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refuses to do so and disavows any argument to the contrary. ECF-25 at 12 (“The State is

making a major question[s] doctrine argument, not an implied repeal argument.); id. at 16

(“The State is not arguing that Congress implicitly repealed the Alaska IRA.”). The State

therefore concedes that Congress has not repealed AIRA Section 1. See Angasan v. U.S.

Dep’t of the Interior, Nat’l Park Serv., No. 3:15-cv-00195 JWS, 2016 WL 11808643, at

*5 (D. Alaska Apr. 25, 2016).11 To the extent this Court considers the issue despite the

State’s concession, it should find that Congress never repealed AIRA Section 1.

               A. ANCSA

       ANCSA did not explicitly or impliedly repeal AIRA Section 1. See ECF-19 at 10–

25. The State fails to argue otherwise. Rather, the State argues—contrary to the D.D.C.’s

decision in Akiachak—that an application to have land taken into trust constitutes a

“claim” based on aboriginal right or title that is therefore disallowed under 43 U.S.C.

§ 1603. ECF-25 at 35–36. The State’s novel argument rests on several faulty premises.

       The State begins by objecting to comparisons of ANCSA to other Indian land

claim settlements. Id. at 33–34. According to the State, the First Circuit’s holding in

Carcieri v. Kempthorne, 497 F.3d 15, 34 (1st Cir. 2007)—that the Rhode Island Indian




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   The State’s failure to respond to Defendants’ repeal arguments likely constitutes
waiver. See James v. Gen. Dynamics Land Sys., Inc., 582 F. Supp. 3d 673, 679 (D. Alaska
2022) (citing Jenkins v. Cnty. of Riverside, 398 F.3d 1093, 1095 n.4 (9th Cir. 2005)
(finding that plaintiff abandoned claims by not raising them in opposition to motion for
summary judgment)). If the Court agrees that the presumption against implied repeal is
the proper framework for deciding this case, it should grant summary judgment in
Defendants’ favor as a matter of law. See Ashley v. Fed. Express Corp., No. 3:21-cv-
00068-SLG, 2023 WL 2563145, at *7 (D. Alaska Mar. 17, 2023).
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Claims Settlement Act’s extinguishment of aboriginal title did not curtail the Secretary’s

trust acquisition authority—is inapposite here. Id. at 34–35. The State suggests that

ANCSA is “broader” than the Rhode Island statute, extinguishing not only aboriginal title

but all claims “based on” aboriginal title.12 Id. at 34–35. Not so; the Rhode Island statute

also extinguished claims based on aboriginal title (in addition to claims based on use and

occupancy). 25 U.S.C. § 1712(a)(3); see Carcieri, 497 F.3d at 36 (describing (a)(3) as

“cover[ing] claims based on other forms of title, besides aboriginal title”). The legislative

history confirms that language in the Rhode Island statute providing for “present-day

extinguishment of Indian [aboriginal] title and all claims arising therefrom . . . was

consistent with the extinguishment language used in [ANCSA].” S. Rep. No. 95-972, at 9

(1978). Thus, like ANCSA, the Rhode Island Indian Claims Settlement Act extinguished

claims “based on” aboriginal title.

       Just as the First Circuit found in Carcieri, “[t]he Secretary’s power [to acquire

land in trust] does not turn on [a t]ribe’s original aboriginal interest in the [p]arcel.”

497 F.3d at 37. As such, the Court should reject the State’s argument that the Tribe’s

request or the Decision violates ANCSA’s extinguishment of claims of or based on

aboriginal title or right. In its opening brief, the State characterized the Secretary’s

Decision as “resurrecting” aboriginal title through the trust acquisition and suggested that




12
  The State observes that neither the Rhode Island nor the Connecticut settlement acts
contained provisions similar to ANCSA’s declaration of policy. ECF-25 at 35–36. As
previously discussed, ANCSA’s declaration of policy lacks substantive force and does not
prohibit the acquisition of land in trust outside the settlement. ECF-19 at 17–18.
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the Tribe’s request constituted a “claim” for aboriginal title. ECF-16 at 43–44, 46. In

support of its argument, the State pointed to two Part 151 findings in the Decision: (1)

“that the Property is uniquely situated to meet [the Tribe’s] need to regain land that it

previously lost and to consolidate existing tribal landholdings” (considering the Tribe’s

need for additional land under § 151.10(b)); and (2) that the Property is located within the

Tribe’s “recognized traditional homelands” (considering the location of the Property

under § 151.11(b)). ECF-16 at 35–36, 43. Neither the Tribe’s application to have the land

acquired in trust nor those findings constitute a claim for aboriginal title. See ECF-19 at

19–20 & n.12; Akiachak, 935 F. Supp. 2d at 205. Those findings merely provide

information concerning a nexus between the Tribe and the land acquired.

       The State now seeks to resuscitate its claim by arguing that the Tribe’s fee-to-trust

application constitutes a “‘claim’ based on” aboriginal title in violation of ANCSA. ECF-

25 at 35–36 (emphasis added). That argument fares no better. In Atlantic Richfield Co.,

on which the State relies, the United States and intervenor Inupiat Community of the

Arctic Slope sued the State and private corporations after ANCSA was enacted, alleging

trespass to Native land prior to enactment. United States v. Atl. Richfield Co., 612 F.2d

1132 (9th Cir. 1980). As the district court explained, the complaint’s underlying theory

was that before ANCSA, the Eskimos of the Arctic Slope had a right of exclusive

possession of the land in question based on aboriginal title. United States v. Atl. Richfield

Co., 435 F. Supp. 1009, 1014 (D. Alaska 1977). In other words, the United States and

tribe brought trespass “claims against . . . the State” and “other persons” that were


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directly “based on claims of aboriginal . . . title.” 43 U.S.C. § 1603(c). The district court

found that such a claim was impermissible after ANCSA. See 435 F. Supp. at 1022;

Akiachak, 935 F. Supp. 2d at 204–05. But no such claim exists here. No statute or

regulation requires the Secretary to consider aboriginal rights—much less conclude that

such rights exist—when deciding whether to acquire land in trust for an Indian tribe.

While the Secretary is not precluded from considering a tribe’s history, including the

location of its traditional homelands, the existence of an aboriginal right is not a

necessary predicate for the acquisition of land in trust. The State makes no effort to

explain otherwise.

       The State also misinterprets the D.D.C.’s explanation in Akiachak that an

application to have land acquired in trust cannot be a “claim” because the Secretary has

discretion to grant or deny those applications. See Akiachak, 935 F. Supp. 2d at 205. The

State acknowledges that the Secretary has such discretion, but now asserts it is “not

unbounded.” ECF-25 at 35. The State suggests that the Secretary’s consideration of the

location of the Tribe’s traditional homelands is impermissible and that considering the

Tribe’s history and connection to an area when evaluating the Tribe’s need for additional

land somehow converts the Tribe’s request into a claim based on aboriginal title. Id. at

35–36. The State mistakenly conflates the factors properly weighed in the Secretary’s

Decision with a claim based on aboriginal title. To the extent the State means to argue

that the Secretary improperly exercised her discretion by considering those factors, the

State has waived such claims by failing to raise them in its opening brief. See ECF-19 at


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8. But more fundamentally, as the D.D.C. explained in Akiachak, the fact that the

Secretary has discretion to deny an application by a tribe to acquire land in trust means

that such an application is not a “claim” at all, much less a claim “against” the United

States, the State, or anyone else. Akiachak, 935 F. Supp. 2d at 204–05; see ECF-19 at 19.

              B. 1991 ANCSA Amendments

       Nor do the 1991 amendments to ANCSA evince congressional intent to repeal

AIRA Section 1. Congress’s decision not to include the proposed amendments shows

only that it chose not to reiterate the grant of authority it had already provided in 1936 in

AIRA Section 1. See ECF-19 at 10. Further, as the State acknowledges, Congress

included an express disclaimer that the amendments neither “validate[d] [n]or

invalidate[d] . . . any assertion that Indian country . . . exists or does not exist” in Alaska.

Pub. L. No. 100-241, 101 Stat. 1788 (1988). See ECF-19 at 25.13 As this Court observed,

in enacting the amendments, Congress “exercised great care to make it clear that the

amendatory act was not to tilt the scale one way or the other as regards the Indian

Country issue.” Alyeska Pipeline Serv. Co. v. Kluti Kaah Native Vill. of Copper Ctr., No.

A87-0201 CV (HRH), 1995 WL 18256024, at *15 n.53 (D. Alaska Nov. 28, 1995). The

House of Representatives provided that “the amendments ‘should be scrupulously

neutral’ on the question of tribal powers or self-government. Id. (quoting H.R.

Explanatory Statement, 100th Cong., 1st Sess. 1 (1987).


13
  Congress has included identical disclaimers in at least two other statutes. See 33 U.S.C.
§ 1377 (g)(3) (Clean Water Act); Amendments to ANILCA, Pub. L. No. 105-83, Title III,
§ 316(b)(2), 111 Stat. 1543 (1998).
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       Amendments disclaiming any position on the existence of Indian country or tribal

territorial jurisdiction in Alaska cannot be read as a repeal of the Secretary’s trust

acquisition authority—or even, in the State’s formulation, as part of a “distinct regulatory

scheme” addressing territorial jurisdiction.

               C. VAWA 2013 and 2022

       The State also points—again within the misplaced context of a “distinct regulatory

scheme”—to the Violence Against Women Reauthorization Act of 2013, 25 U.S.C.

§ 1304 (“VAWA 2013”) and VAWA 2022. ECF-25 at 16–17, 20–22. VAWA 2013 allowed

participating tribes—including those in Alaska—to exercise special domestic violence

criminal jurisdiction over offenders, including non-Indians, in Indian country. 25 U.S.C.

§ 1304(b). As discussed above, VAWA 2022 recognized and affirmed Alaska tribes’

inherent criminal and civil authority over all Indians in a tribe’s Village and extended

tribes’ civil jurisdiction over protective orders, id. § 1305(b), and special Tribal criminal

jurisdiction within Villages, id. § 1305(c)–(d).

       The State does not explain how VAWA creates or contributes to a “‘distinct

regulatory scheme’ to address territorial jurisdiction in Alaska,” much less how such a

scheme pertains to the Secretary’s trust acquisition authority. See ECF-25 at 17. All that

may be gleaned from VAWA 2022 is Congress’s recognition that, at present, the places

where most acts of domestic violence take place—that is, in Alaska Native Villages—are

not “Indian country” under 18 U.S.C. § 1151. VAWA 2022 ensures that Alaska Native

women can benefit from VAWA’s protections where they need it most.


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       Refusing to engage in any discussion of statutory repeal, the State does not argue

that either VAWA 2013 or 2022 repealed AIRA Section 1. Rightly so, because if the Court

were to construe the State’s argument in the statutory repeal context, it must conclude that

neither had that effect. Plainly, neither mentions, much less explicitly repeals, AIRA

Section 1. Nor does either do so impliedly by irreconcilably conflicting with or covering

the whole subject of the Secretary’s AIRA Section 1 trust acquisition authority.

               D. FLPMA

       The State’s discussion of the Federal Land Policy and Management Act of 1976

(“FLPMA”) is equally unavailing. The State argues that FLPMA’s retention of AIRA

Section 1—and repeal of Section 2—“had no bearing” on Congress’s intent regarding

trust acquisition authority in Alaska. See ECF-25 at 24. No bearing, the State argues,

because FLPMA was “a bill entirely focused on federal public land,” id. (emphasis in the

State’s brief), whereas the question here is “the authority to take privately held fee land

into trust,” id. This distinction is beside the point. Congress knew how to repeal sections

of AIRA; it repealed Section 2 and kept Section 1. The fact that it did so in a statute

covering myriad types of land and property is irrelevant. See, e.g., 43 U.S.C. §§ 1715,

1719, 1744, (addressing non-Federal land, mineral interests, and mining claims,

respectively). And FLPMA further specified that “[n]othing in this Act shall be deemed to

repeal any existing law by implication,” Pub. L. No. 94–579, 90 Stat. 2743, § 701(f)

(1976), a fatal blow to the State’s demand that Congress make a “clear statement” that it

wanted to retain Section 1, see ECF-25 at 24. No statement could be clearer.


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       In sum, the State fails to overcome the “extremely strict” presumption against

implied repeals. Ledezma-Galicia v. Holder, 599 F.3d 1055, 1064 (9th Cir. 2010). None

of the State’s arguments about ANCSA and its amendments, VAWA, or FLPMA show

Congress’s “clear and manifest” intent to silently repeal AIRA Section 1 or cast any doubt

on Congress’s express provision of authority to acquire land in trust in Alaska. See

Posadas v. Nat’l City Bank of N.Y., 296 U.S. 497, 503 (1936). “Because it is possible to

give effect to both ANCSA and [Section 1], it is the court’s obligation to do so.”

Akiachak, 935 F. Supp. 2d at 207.

IV.    Section 19 Does Not Limit the Secretary’s Trust Acquisition Authority in
       Alaska, and the State Offers No Viable Argument to the Contrary.

       Section 19 contains four definitions of “Indian,” the last of which directs that

“[f]or the purposes of [the IRA], Eskimos and other aboriginal peoples of Alaska shall be

considered Indians.” 25 U.S.C. § 5129. This “Alaska Definition” stands independent of

Section 19’s first three definitions. Nonetheless, the State maintains that tribes in Alaska

must also meet one of the first three definitions, and that because (in the State’s view)

they meet none, Section 19 limits trust acquisitions for tribes in Alaska. See ECF-25 at

37–38, 40–42. See also ECF-16 at 58–59.

       The State’s argument remains wrong for three reasons. First, the IRA’s plain text,

structure, and purpose unambiguously show that the Alaska Definition is a standalone

definition.14 Second, even assuming ambiguity, Interior’s interpretation merits deference


14
  The State also mischaracterizes Interior’s argument about the significance of the Alaska
Definition. It asserts that Interior has conceded that if the Alaska Definition is an
ethnographic clarification, then “a tribe in Alaska must also meet one of the first three
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because the legislative history proves that Congress wanted to broadly include Alaska

Natives in the IRA, not make an “ethnographical” clarification that one of the first three

definitions simply might include them. Third, trust acquisitions for individual Indians and

the IRA’s far-reaching remedial purposes are fully consonant with broad inclusion of

tribes in Alaska, and easily withstand the State’s policy broadsides.

             A. The Alaska Definition Clearly and Independently Confirms that
                Alaska Natives are “Indians” under the IRA.

       First, the State says that the Tribe must satisfy two definitions: the Alaska

Definition plus one of Section 19’s other three. The text says otherwise. Section 19

mandates that Alaska Natives “shall” be considered Indians—not that they “can” be so

long as they also meet one of the first three definitions. See ECF-19 at 29-30.

Additionally, Section 19 structurally sets the Alaska Definition apart from the previous

three definitions, emphasizing its independence and role in the Section. See id. at 29. The

State ignores this, asking the Court to rewrite and restructure the Section, to substitute

“can” for “shall,” and to import a second category of Indian—an “ethnographic

Indian”—which does not exist in the IRA. See ECF-25 at 37–38. Additionally, the State

does not dispute that the Tribe satisfies the Alaska Definition. Because satisfaction of this

definition confirms the Tribe is “Indian” for the purposes of having land acquired under




definitions.” ECF-25 at 40 (citing ECF-19 at 30). Interior has made no such concession.
Interior argued in the quoted paragraph that requiring a tribe in Alaska to meet one of
Section 19’s first three definitions would render the Alaska Definition surplusage. See
ECF-19 at 30. The Court should not be misled by the State’s selective misquotation.
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Section 5, the Tribe does not need to meet any other definition, and the Secretary’s

authority is confirmed.

               B. Legislative History Confirms that Congress Broadly Included
                  Alaska Natives in the IRA.

       Second, even if Section 19’s text and structure were ambiguous, the legislative

history confirms Interior’s understanding. For example, Commissioner Collier’s

testimony made clear that Congress included the Alaska Definition to ensure Alaska

Natives could receive the IRA’s benefits, in his words, to “extend the land acquisition and

credit benefits to these Alaska Indians who are pure-blood Indians and very much in

need, and they are neglected, and they are Indians pure and simple.” AR0000061; see

generally id. at 0000058–61.

       For its part, the State mischaracterizes the legislative record, even enlisting the

words of Secretary Ickes. Secretary Ickes told Congress in a letter that he understood

AIRA Section 1, applying Section 19 to Alaska, as having brought Alaska Indians and

Eskimos “fully within the terms” of the IRA. AR0000064–65. In so doing, Secretary

Ickes straightforwardly articulated how AIRA broadened the IRA’s scope. But the State

insists that Secretary Ickes meant that Congress had made a “clarification” that Alaska

Natives were “ethnographically ‘Indian’” and therefore were required to meet one of the

first three definitions. ECF-25 at 38. This claim distorts how the Secretary

contemporaneously understood the statute whose implementation Congress had charged

him to lead. The legislative history shows that Congress meant what it said: “For the



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purposes of [the IRA],” 25 U.S.C. § 5129, Alaska Natives “are Indians pure and simple,”

AR0000061.

                 C. The State’s Policy Complaints Do Not Diminish Interior’s
                    Carefully Regulated Trust Acquisition Authority nor the IRA’s
                    Broad Remedial Purposes.

         Third, the State conjures a hypothetical about trust acquisitions for individuals that

Interior’s standalone interpretation of the Alaska Definition supposedly allows. But this

hypothetical is irrelevant to the facts of this case. The State does not dispute that the Tribe

is Alaska Native and meets the Alaska Definition. See ECF-25 at 37–42. That is all that

Section 19 requires to confirm the Assistant-Secretary’s authority to acquire the Parcel in

trust.

         Moreover, the hypothetical is unlikely under Interior’s regulations governing trust

acquisitions for individuals. Those regulations root acquisitions for individual Indians in

tribal affiliation and geographic location, thus avoiding the type of distinctions the State’s

hypothetical foists upon Interior. See 25 C.F.R. § 151.2 (limiting the definition of

“Individual Indian” based on tribal enrollment, reservation residency, and blood quantum

of a tribe, and defining “tribe” as Indian tribes recognized pursuant to 25 U.S.C. § 5130,

i.e., federally recognized tribes). Additionally, the regulations limit acquisitions for

individuals to (1) land that is located within or adjacent to the exterior boundaries of a

reservation; or to (2) land that is already in trust or restricted status. See id. § 151.3(c).

Thus, federal regulations already circumscribe potential individual acquisitions and




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forestall the unbounded authority the State imagines. The State neglects these regulations;

its hypothetical is therefore untethered from how Interior implements the IRA.

       Furthermore, the State’s hypothetical amounts to a policy complaint, not a legal

one. Having created the Secretary’s land-into-trust authority, Congress may expand or

contract it in Alaska or elsewhere; the State identifies no constitutional infirmity in that

power. See Kahawaiolaa v. Norton, 386 F.3d 1271, 1282–83 (9th Cir. 2004) (sustaining

the constitutionality of Congress’s differential treatment of Native Hawaiians and

mainland tribes due to the unique history of U.S.-Hawaiian relations, and approvingly

citing statutes that provide Native Hawaiians exclusive benefits). Nor can it identify a

defect using the IRA’s text, purpose, or legislative history. Instead, it criticizes the policy

itself. See ECF-25 at 39. The State may think it “makes no sense,” id., that Congress

brought Alaska Natives “fully within the terms” of the IRA, AR0000064–65, but that is

for Congress to decide.

       The State adds to this contemporary policy complaint a historical one. It argues

that one of the IRA’s remedial purposes of ending allotment does not apply in Alaska, and

that this either shows the Alaska Definition is not standalone or works against Interior in

some other obscure way. ECF-25 at 39–40. No matter. “[N]othing in the IRA’s text limits

its remedial reach to tribes affected by the Dawes Act,” Upstate Citizens for Equal., Inc.

v. United States, 841 F.3d 556, 573 (2d Cir. 2016), and when Congress wanted to exclude

specific tribes or regions from the “far-reaching” statute, “it did so explicitly,” id. (citing

25 U.S.C. § 5118, the IRA’s territorial exclusion, excepting Alaska). Indeed, Congress’s


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remedial purpose was broader and more prospective than remedying the repercussions of

allotment, Morton v. Mancari, 417 U.S. 535, 542 (1974). It sought for tribes “a greater

degree of self-government, both politically and economically,” id. Those goals applied in

Alaska. Alaska Delegate Anthony Dimond told fellow Congress members that “white

men have come in and taken up the best locations,” jeopardizing land and prosperity for

tribes in Alaska. AR0000060. That is why Congress extended the IRA to tribes in Alaska

“pure and simple.” See AR0000061. Fundamentally, the State’s criticisms of Congress’s

reasons for enacting AIRA are irrelevant. The legally salient point is that Congress did so.

       Equally irrelevant are the State’s closing criticisms of Chevron, USA, Inc. v. Nat.

Res. Def. Council, Inc., 467 U.S. 837 (1984). The Alaska Definition is unambiguous; but

even were the Court to identify some ambiguity, the legislative history discussed above

and in prior briefing, ECF-19 at 27–31, resolves it. And even if those interpretive tools

did not, Interior’s conclusion regarding the Alaska Definition’s standalone nature,

AR0000057, is “based on a permissible construction” of the statute, Eleri v. Sessions, 852

F.3d 879, 882 (9th Cir. 2017) (quoting Chevron, 467 U.S. at 843), and evinces

“thoroughness . . . in its consideration,” “validity” in “its reasoning,” and “consistency

with earlier and later pronouncements,” Skidmore v. Swift, 323 U.S. 134, 140 (1944).

Furthermore, “statutes are to be construed liberally in favor of the Indians, with

ambiguous provisions interpreted to their benefit[.]” Montana v. Blackfeet Tribe of

Indians, 471 U.S. 759, 766 (1985). That has been and remains the law.




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       The State closes by saying this case is not about politics, but what Congress

wanted the law to mean. Interior agrees. Congress enacted the IRA and AIRA to include

Alaska Natives within the IRA’s scope, and it did not at the same time qualify that

inclusion through Section 19 so as to render the acquisition here was unlawful. The State

offers no credible arguments to the contrary.

                                     CONCLUSION

       For the foregoing reasons, the United States respectfully asks this Court to deny

the State’s Motion and grant the United States’ Cross-Motion for Summary Judgment.

DATED: January 19, 2024.

                                          Respectfully submitted,

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                                          Assistant Attorney General
                                          Environment and Natural Resources Division

                                          /s/ Charmayne G. Staloff
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                            CERTIFICATE OF SERVICE

      I, Charmayne G. Staloff, hereby certify that, on January 19, 2024, the foregoing
UNITED STATES’ REPLY IN SUPPORT OF CROSS-MOTION FOR SUMMARY
JUDGMENT will be sent electronically to the registered parties as identified on the
Notice of Electronic Filing.

                                         /s/ Charmayne G. Staloff
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                         CERTIFICATE OF WORD COUNT

       The Court granted the United States’ unopposed motion for an enlargement of the
word limit to 7,200 words. ECF-27. I certify that this document complies with the Court-
ordered word count limit because it contains 7,118 words.




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